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. UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF 1\/IISSISSIPPI
NORTI~IERN DIVISI()N

 

 

SECURITIES AND EXCHANGE
COMMISSION,
Plaintiff,
v. Case No. 3:18-CV-252-
_DPJ-FKB
ARTI-IUR LAMAR ADAMS AND

MADISON TIl\/[BER PROPERTIES, LLC, (FILED UNDER SEAL)

Defendants,

 

 

PLAINTIFF’S FIRST REPORT TO THE COURT
REGARDING STATUS OF EFFORTS TO PERFECT
SERVICE OF ASSET FREEZE ORDER
In accordance With the Court’s April 20, 2018 Order Granting Plaintiff’ s
Motion to Seal the Record, Plaintiff, Securities and Exchange Commission (the
“SEC”), files this first report to the court regarding the status of the SEC’s efforts
to perfect service of the Court’s April 20, 2018 Consent Order Granting Perrnanent

Injunction, Freezing Assets, Prohibiting Destruction of Documents and Expediting

Discovery on entities and individuals With access to assets belonging to, or under

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the control of, Defendants Arthur Lamar Adams and/or Madison Timber
Properties, LLC.

The SEC represents to the Court that it has taken efforts to serve the asset
freeze order on all banks known to have been used by Defendants, as Well as some
additional banks in the Madison, MS and Jackson,'MS areas. The SEC has
confirmed that the known banks received copies and implemented the freeze.

Out of an abundance of caution, the SEC respectfully requests that the Court
extend the seal for one additional week, to allow service of the asset freeze order
on additional local and selected national banks, as well as selected individuals

The SEC anticipates requesting that the Court lift the stay in its next Weekly report.

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Dated this 27th day of April, 2018.

Respectfully submitted,

S/ W. Shawn Mumahan

W. Shawn Murnahan

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UNITED STATES DISTRICT COURT
. SOUTHERN DISTRICT OF MISSISSIPPI

 

 

 

NORTHERN DIVISION

SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff,

v. .Case No. 3:18-CV-252-
DPJ-FKB

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC, (FILED UNDER SEAL)

Defendants,

CERTIFICATE OF SERVICE

I hereby certify that on this day, I served a true and correct copy of the
Plaintiff’ s First Report to the Court Regarding Status of Efforts to Perfect Service
of Asset Freeze Order on John M. Colette, Esq., as counsel for Defendants, Via
email and by first class mail.

Dated this 27th day of April, 2018.
Respectfully Submitted,

S/ W. Shawn Murnahan
W. Shawn Murnahan

